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15   COMPANY
16
                               UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
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     UNITED STATES OF AMERICA,                     Case No. 14-CR-00175-WHA
20
                                  Plaintiff,       RESPONSE TO ORDER TO SHOW
21                                                 CAUSE AND FURTHER ORDER
22                                                 TO SHOW CAUSE
            v.
23                                                 Judge: Hon. William Alsup
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
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 1                  Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this

 2   response to the Court’s January 16 and January 24, 2020 orders to show cause (1) why a further

 3   condition of probation should not be imposed “requiring PG&E to hire and train, as part of its

 4   own workforce, sufficient crews and equipment to inspect and to trim and remove all vegetation

 5   so as to come into compliance with the California Public Resources Code and PG&E’s own

 6   wildfire mitigation plan” (“Hiring Condition”); and (2) why a further condition of probation

 7   should not be imposed requiring PG&E to “restrict all bonuses and other incentives for

 8   supervisors and above exclusively to achieving the PG&E Wildfire Mitigation Plan and other

 9   safety goals” (“Compensation Condition”).

10                                           INTRODUCTION
11                  The Court should not impose the proposed probation conditions. “The test for

12   validity of probation conditions . . . is whether the conditions are primarily designed to meet the

13   ends of rehabilitation and protection of the public.” United States v. Terrigno, 838 F.2d 371, 374

14   (9th Cir. 1988). The conditions must be “reasonably related to th[ose] purposes.” Id. “If the

15   impact is substantially greater than is necessary to carry out the purposes, the conditions are

16   impermissible.” Higdon v. United States, 627 F.2d 893, 897 (9th Cir. 1980). In addition, under

17   principles of comity, “the federal government has no constitutional authority to interfere with a

18   state’s exercise of its police power,” United States v. Snyder, 852 F.2d 471, 475 (9th Cir. 1988),
19   and a “condition of probation may not circumvent another statutory scheme,” United States v.

20   Abushaar, 761 F.2d 954, 960 (3d Cir. 1985). The proposed probation conditions fail both these

21   tests.

22                  Hiring Condition. The Hiring Condition is unreasonable. It does not advance any

23   rehabilitative or public interest purpose because it will not have the effect the Court suggests.

24   The Court’s proposed Hiring Condition is based on the mistaken premise that a lack of pre-

25   inspector and tree trimming resources have kept PG&E from complying with state vegetation

26   management laws and the targets in PG&E’s Wildfire Safety Plan. That is incorrect. Any non-

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 1   compliance is not attributable to current resource constraints. PG&E faced an unprecedented

 2   volume of tree work in 2019 that could not be fully executed until it had ramped up its contracted

 3   vegetation management workforce, which it did by more than tripling that workforce by the end

 4   of the year. While the relatively small volume of compliance work that was outstanding at year-

 5   end 2019 was impacted by resource delays, much of the outstanding work consisted of trees that

 6   had only been recently identified for work; trees that were subject to environmental, permitting

 7   and customer refusal issues; or trees that were timely worked but the work is not yet reflected in

 8   PG&E’s records due to lagging contractor invoicing. With respect to PG&E’s Wildfire Safety

 9   Plan, PG&E exceeded its Enhanced Vegetation Management (“EVM”) program target. The

10   missed Catastrophic Event Memorandum Account (“CEMA”)1 inspection target was a result of

11   scheduling issues that have already been addressed, not manpower issues. The proposed Hiring

12   Condition therefore will not advance PG&E’s compliance with state laws concerning vegetation

13   management.

14                  The resource constraints that PG&E has cited in the past instead concern the pace

15   at which PG&E can complete the full scope of the EVM work described in its Wildfire Safety

16   Plan. Specifically, the pool of qualified and experienced tree workers available to complete

17   PG&E’s EVM work is limited, and thus PG&E estimated that the full scope of its EVM work

18   would take an estimated eight years to complete. That fact was considered and addressed by the
19   CPUC in its approval of PG&E’s plan.

20                  While PG&E appreciates the Court’s desire to find ways to speed up the

21   completion of that work, an order directing PG&E to hire tree trimmers as part of its own

22   workforce would be counterproductive. There is a critical statewide (indeed, nationwide)

23   shortage of qualified and experienced tree workers that the Court’s proposed Hiring Condition

24   will not solve. PG&E is working closely with its contractors to obtain additional resources for

25   vegetation management—in fact, PG&E has worked with its contractors to add approximately

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27           CEMA comprises PG&E’s drought emergency response vegetation management work.

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 1   4,700 pre-inspectors and tree trimmers throughout 2019. But additional qualified tree workers

 2   do not currently exist in California. If the Court were to force PG&E to develop an in-house tree

 3   worker team, PG&E would need to hire existing resources away from its own contractors, which

 4   would only shift who employs the resources performing work for PG&E, not add to them.

 5   Moreover, PG&E has not used internal tree workers for at least four decades. Instead, PG&E,

 6   like virtually all large utilities across the country, has contracted with experts in the vegetation

 7   management industry to conduct that work. Forcing PG&E to hire an internal workforce would

 8   therefore not address any near-term resource constraints because it would take PG&E many

 9   years and hundreds of millions of dollars to build the infrastructure, expertise, and management

10   structures to develop the kind of vegetation management workforce that already exists at the

11   vegetation management companies with which it contracts. The middle of California’s wildfire

12   emergency is not the time for PG&E to reverse course on the entire structure of its vegetation

13   management work and spend significant time and resources that are better devoted to improving

14   current arrangements and completing other important wildfire mitigation measures.

15                  The Hiring Condition also would not help reduce the need for PG&E’s Public

16   Safety Power Shutoff (“PSPS”) program. PG&E implemented its PSPS program in 2018 in

17   response to a significantly changed wildfire risk, not because it had failed to comply with

18   vegetation management regulations. While its EVM program is an integral part of an overall
19   approach to wildfire mitigation, PG&E’s ability to reduce the frequency and impact of PSPS

20   events will depend in substantial part upon system enhancements, such as localized weather

21   forecasts and real-time data, sectionalization of lines, and the use of microgrids. Even with

22   perfect vegetation compliance, PG&E would still need to maintain a PSPS program to address

23   extreme weather and fire danger conditions.

24                  Finally, the Hiring Condition is also unlawful because it interferes with the expert

25   judgment exercised by other politically accountable actors. The California Legislature and the

26   CPUC have comprehensive regulatory authority over vegetation management compliance and

27   California utilities’ wildfire mitigation plans. The CPUC has approved the targets for PG&E’s

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 1   2019 EVM and has full authority to address any non-compliance—it also has the expertise to

 2   determine how best to increase the vegetation management resources available to PG&E and its

 3   contractors. The CPUC considered resource constraints in its review of PG&E’s 2019 Wildfire

 4   Safety Plan and its investigation of the 2017 Northern California Wildfires and 2018 Camp Fire.

 5   As a result of those proceedings and PG&E’s independent efforts, PG&E is in the process of

 6   implementing multiple measures designed to expand the vegetation management labor pool and

 7   better utilize existing vegetation management resources, which are discussed in detail below.

 8                  Compensation Condition. The Compensation Condition is also unlawful and

 9   conflicts with determinations to be made by the CPUC and with compensation matters that may

10   be brought before the Bankruptcy Court. California recently passed major legislation, AB 1054,

11   that regulates PG&E’s executive compensation and that expressly permits that compensation to

12   be determined by a mix of safety and financial considerations. That decision reflects

13   California’s judgment, amply supported by the legislative record, that PG&E cannot safely

14   provide power unless it is financially stable. The CPUC will hold hearings on February 19 on

15   PG&E’s proposed 2020 executive compensation plan pursuant to that legislation, and PG&E has

16   submitted written testimony to the CPUC describing in detail the complex set of considerations

17   that underlie the proposals, and why the proposals meet AB 1054’s standards. See “Pacific Gas

18   and Electric Company Plan of Reorganization OII 2019, Prepared Testimony, Volume 1:
19   Chapter 7, Executive Compensation,” at 7-3 to 7-23 (Jan. 31, 2020), attached as Ex. A to the

20   Declaration of Kate Dyer In Support of PG&E’s Response to Order to Show Cause and Further

21   Order to Show Cause (“Dyer Decl.”) [hereinafter “CPUC Testimony”]. It would be

22   inappropriate for this Court to override those state determinations via a probation condition. The

23   Bankruptcy Court has also previously addressed PG&E’s incentive plans. In particular, the

24   Bankruptcy Court approved PG&E’s 2019 short-term incentive plan, which included safety

25   (65%), financial (25%) and customer (10%)-related goals, as a sound exercise of business

26   judgment, “justified by the facts and circumstances,” and “in the best interests of [PG&E], its

27   estate[], creditors, shareholders and all parties in interest.” Order Pursuant to 11 U.S.C.

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 1   §§ 105(a), 363, and 503(c) (I) Approving Short-Term Incentive Plan and (II) Granting Related

 2   Relief, at 1, In re PG&E Corp., No. 19-30088 (Bankr. N.D. Cal. Apr. 29, 2019), ECF No. 1751

 3   [hereinafter, the “STIP Order”]. Judge Montali should have the ability to assess any incentive

 4   compensation plan proposed for 2020 that may seek to similarly balance safety goals with other

 5   important goals of the company without the constraints of the proposed condition. The Court

 6   should not interfere with the ongoing efforts of these other authorities or upset the balance they

 7   have struck.

 8                   Moreover, PG&E’s incentive plans already weigh safety far more heavily than its

 9   peer utilities’ plans do. PG&E is a leader in the industry in weighting safety in its incentive

10   plans, and there is no evidentiary or other basis for concluding that safety outcomes would be

11   better if incentive compensation were tied exclusively, rather than predominantly, to safety. To

12   the contrary, PG&E must balance three major pillars of its overall mission in serving

13   Californians: it must reliably provide customers with clean energy sufficient to meet their needs;

14   it must provide that energy safely; and it must remain financially healthy so that it can continue

15   to provide those services affordably, which is a point of particular concern as PG&E seeks to

16   emerge from bankruptcy. Thus, while safety is indisputably paramount, this Court should not

17   limit PG&E to compensating its many supervisors based on only one of these factors.

18                                             ARGUMENT
19                   The proposed conditions “violate[] the principle that any deprivation of liberty

20   must be reasonably necessary to a proper sentencing objective.” United States v. Lorenzini, 71

21   F.3d 1489, 1493-94 (9th Cir. 1995).

22   I.       THE COURT SHOULD NOT ADOPT THE HIRING CONDITION.

23          A.       The Hiring Condition Is Unreasonable Because Current Resource
                     Constraints Are Not Affecting PG&E’s Compliance with Vegetation
24                   Management Laws and Its Wildfire Safety Plan
25                   The Court’s January 16 Order to Show Cause states that the intended reason for
26   this new condition is for PG&E “to come into compliance with the California Public Resources
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 1   Code and PG&E’s own wildfire mitigation plan.” Order to Show Cause at 2, United States v.

 2   Pac. Gas & Elec. Co., No. 14-cr-175 (N.D. Cal. Jan. 16, 2020), ECF No. 1133. Respectfully, the

 3   premise of the Court’s Order is mistaken. PG&E would like to clarify the record so that there is

 4   no misunderstanding about its current compliance status. PG&E faced resource constraints in

 5   2019 as it sought to complete an unprecedented volume of tree work in its routine, CEMA and

 6   EVM programs at the same time California faced a critical shortage of qualified and experienced

 7   tree workers. Working with its contractors, PG&E responded by more than tripling its pre-

 8   inspector and tree trimmer workforce, largely with new pre-inspector hires and by recruiting tree

 9   trimmers from out of state. The time to complete this ramp up, along with other external factors

10   (e.g., winter storms) and scheduling changes to prioritize work in the highest fire-threat areas,

11   had the effect of pushing a large volume of PG&E’s tree work toward the end of 2019. Despite

12   these obstacles, PG&E finished 2019 in substantial compliance with state vegetation

13   management laws and the targets in the Wildfire Safety Plan as set forth below. To the extent

14   PG&E has fallen short of perfect compliance, current resource constraints are not the cause.

15   Accordingly, the Hiring Condition serves no rehabilitative or public purpose.

16                  First, PG&E is already in substantial compliance with vegetation management

17   laws and the vegetation management targets in its Wildfire Safety Plan. PG&E worked over a

18   million trees in 2019, and had not completed work on only 22,000 trees that represent
19   compliance issues because they have been identified as hazard trees or trees with vegetation

20   within the four-foot radial clearance area by year end. (Declaration Regarding Vegetation

21   Management in Support of Response to Order to Show Cause and Further Order to Show Cause,

22   February 12, 2020, (“VM Decl.”) ¶ 3) As explained in its January 15 submission, many of these

23   trees are recently identified trees that have been or will be completed in PG&E’s standard work

24   completion timeframes, while others have been delayed due to environmental and permitting

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 1   requirements and customer refusals.2 (PG&E’s Response to Request for Information at 5,

 2   United States v. Pac. Gas & Elec. Co., No. 14-cr-175 (N.D. Cal. Jan. 15, 2020), ECF No. 1132

 3   (“January 15 submission”); see also VM Decl. ¶ 4) For the remaining trees that do not fall into

 4   any of these categories, delays were the result of planning and prioritization issues as PG&E

 5   completed an unprecedented volume of tree work in the closing months of 2019. (VM Decl. ¶ 5)

 6   PG&E acknowledges that such issues are unacceptable, but they are better addressed by PG&E’s

 7   continuing efforts to mature its expanded vegetation management operations and improve

 8   oversight and management of PG&E’s current contractor workforce rather than by forcing

 9   PG&E to build an internal tree inspection and trimming workforce from scratch. In 2020, PG&E

10   has improved its regional Vegetation Management (“VM”) managers’ ability to track

11   outstanding compliance work and is developing additional checkpoints with contractors as it

12   prioritizes timely completion of this work. (Id.)

13                  With respect to PG&E’s Wildfire Safety Plan, PG&E completed work on

14   approximately 2,500 EVM line miles, thereby exceeding its 2019 target of 2,450 miles. (Id. ¶ 9)

15   While PG&E missed its target of 100% completion of its planned CEMA second patrols of

16   certain line miles for dead, dying or diseased trees3, that was the result of delays in routine

17   inspections in the first half of the year as PG&E ramped up its pre-inspector workforce, as well

18   as changes to the schedule for routine inspections to prioritize work in the highest fire-threat
19   areas. (Id. ¶¶ 10-11) PG&E completed virtually all routine inspections by year end, but these

20   scheduling changes had the cascading effect of pushing a number of CEMA second patrols,

21   which are typically scheduled to take place approximately six months after a routine inspection,

22

23       2
           As set forth in PG&E’s January 15 submission, because there is a lag between the time tree
     work is completed and the time PG&E contractors submit paperwork confirming completion,
24
     PG&E’s records may not yet reflect completion of work for many of the trees recently identified
25   for work. PG&E expects that the work on most of those trees was timely completed.
         3
26          PG&E’s routine patrols inspect the lines for dead, dying or diseased trees. PG&E’s CEMA
     is therefore a “second patrol” for these same issues that is completed on lines in high fire-threat
27   areas.

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 1   into 2020. (Id.) Those issues have been addressed for 2020. (Id. ¶ 11) While the failure to meet

 2   the CEMA second patrols target is not acceptable, it was the result of scheduling changes, not the

 3   availability of pre-inspectors to conduct the patrols. (Id.)

 4                  Contrary to the apparent premise of the Court’s Order, it is also incorrect that

 5   PG&E’s PSPS program resulted from any failure by PG&E to comply with California law.

 6   PG&E implemented a PSPS program in 2018 in response to dramatically increased wildfire risk

 7   due in large part to climate change, which has led to more extreme weather events across a

 8   longer and drier fire season. (Declaration Regarding PSPS in Support of Response to Order to

 9   Show Cause and Further Order to Show Cause (“PSPS Decl.”) ¶ 2) While the EVM program is

10   an integral part of its overall approach to wildfire mitigation, the primary means of reducing the

11   frequency and impact of PSPS events are the availability of more localized weather forecasts and

12   real-time data, sectionalization of lines to allow de-energization of smaller sections of line, the

13   use of microgrids to power safe-to-energize areas, and targeted system hardening in high fire-risk

14   areas. (Id. ¶ 3) Even with these changes, there will remain a risk of vegetation-caused fires in

15   circumstances involving high winds and dry brush—and thus a need for a PSPS program—no

16   matter how much EVM work is completed. (Id. ¶ 5) The comments by PG&E’s CEO William

17   Johnson cited by the Court in its order do not concern vegetation management, but instead relate

18   to the amount of time it will take to upgrade the system to allow for more targeted, precise and
19   informed PSPS events. PG&E has already made significant strides in that area and will continue

20   to do so in the coming years. (Id. ¶ 4) But again, the need for and challenges associated with

21   PSPS have nothing to do with tree worker availability. (Id. ¶ 2)

22                  Second, to the extent the Court’s Order is focused on PG&E’s failure to certify

23   that it is in perfect compliance with vegetation management requirements, PG&E has been

24   candid in its submissions that it will never be in a position to certify perfect compliance. PG&E

25   provides electricity across 70,000 square miles of territory spanning a range of terrains. (VM

26   Decl. ¶ 6) The natural environment in which it operates is dynamic: any number of weather

27   events, animal activities, or human interventions can transform trees from compliant to non-

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 1   compliant on a daily basis. (Id.) Certification of perfect compliance with state-law standards

 2   would require technologically infeasible, round-the-clock surveillance of tens of millions of

 3   trees. (See January 15 submission at 3-4; VM Decl. ¶ 6) But as PG&E has previously informed

 4   the Court, it has made extensive efforts to ensure that it is getting as close to that standard as

 5   practicable. It has made, and will continue to make, workforce and process improvements to

 6   enhance the speed, effectiveness, and safety of its wildfire mitigation work. (See January 15

 7   submission at 4-8; VM Decl. ¶ 6)

 8           B.     Imposing the Hiring Condition to Increase the Pace of PG&E’s EVM
                    Program Would Be Unreasonable.
 9
                    To the extent the Court seeks to increase the pace at which PG&E will complete
10
     its EVM work—in other words, to the extent the Court’s concern is with PG&E’s CPUC-
11
     approved annual targets themselves, rather than with PG&E’s compliance with the annual
12
     targets—imposing the Hiring Condition would still be unreasonable.4 That is so for at least two
13
     reasons. First, the well-recognized shortage of qualified pre-inspectors and line clearance tree
14
     trimmers in California will prevent PG&E from completing its work on a faster timeline.
15
     Imposing the Hiring Condition will not change these underlying labor market conditions, and in
16
     fact could pose an obstacle to PG&E’s compliance, as described below. Second, the 2019 targets
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     have been reviewed and approved by the CPUC, the expert body with authority to impose and
18
     enforce the Wildfire Safety Plan. This Court should not interfere with the CPUC’s
19
     determinations.
20

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         4
22         As part of its continual assessment of its wildfire mitigation programs, PG&E plans to
     conduct EVM on 1,800 distribution line miles in 2020 and beyond based on insights gained from
23   the 2019 effort. PG&E will refocus some of its resources in 2020 to expand Rights-of-Way and
     remove incompatible species around lower voltage transmission lines in order to reduce wildfire
24   risk and reduce the footprint of future PSPS events by allowing some transmission lines to
     remain energized. (PG&E 2020 Wildfire Mitigation Plan, submitted on February 7, 2020, at
25
     Executive Summary-6, available at https://www.pge.com/pge_global/common/pdfs/safety/
26   emergency-preparedness/natural-disaster/wildfires/wildfire-mitigation-plan/2020-Wildfire-
     Safety-Plan.pdf.)
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 1                  1.      Labor Market Conditions Prevent PG&E From Completing Its Enhanced
                            Vegetation Management Work Faster Than The CPUC-Approved
 2                          Timeline.
 3                  The Bureau of Labor Statistics’ most recent data on the entire “Tree Trimmers
 4   and Pruners” occupation (from May 2018) shows nationwide employment of 42,440 and
 5   California-wide employment of 6,840.5 But only a small subset of these tree workers have the
 6   necessary experience and certification to work as “line clearance” tree trimmers adjacent to
 7   energized power lines. (VM Decl. ¶ 13) In AB 1054, the California Legislature specifically
 8   found that “[t]here is a nationwide shortage of the qualified utility line workers and qualified line
 9   clearance tree trimmers needed to prevent and respond to wildfires, storms, and other major
10   events. Because this work is performed on and near high voltage lines and other energized
11   electrical equipment, these jobs require substantial training and are highly dangerous. Current
12   efforts to hire enough qualified people to perform these functions have fallen short even though
13   exceptional compensation packages are being offered.” (2019 Cal. Legis. Serv. ch. 79, § 12(7)
14   (“A.B. 1054”) (law filed July 12, 2019)).6 PG&E’s own experience casting a wide net and
15   offering substantial financial incentives to hire additional tree personnel in the fall of 2018
16   identified a maximum of approximately 3,000 qualified tree workers to perform vegetation
17   management activities around utility lines at that time. (PG&E Amended 2019 Wildfire Safety
18   Plan, submitted on February 14, 2019 (“WSP”) at 80-81, available at
19   https://www.pge.com/pge_global/common/pdfs/safety/emergency-preparedness/natural-
20   disaster/wildfires/Wildfire-Safety-Plan.pdf ; (VM Decl. ¶ 19)).
21

22

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         5
            U.S. Bureau of Labor Statistics, Occupational Employment and Wages, May 2018, 37-
24
     3013 Tree Trimmers and Pruners, available at
25   https://www.bls.gov/oes/2018/may/oes373013.htm.
         6
26         In Senate Bill 247, which was passed three months after AB 1054, the legislature mandated
     that qualified line clearance tree workers be paid no less than apprentice electrical utility
27   linemen. 2019 Cal. Legis. Serv. ch. 406, § 2(b) (law filed Oct. 2, 2019).

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 1                    It is also important to understand that using qualified tree workers from outside

 2   California is extremely difficult. In 2016, in an effort to understand what level of workforce

 3   expansion might be possible, PG&E contracted with a vegetation management consultant to

 4   perform a market analysis concerning the potential to bring additional qualified personnel into

 5   California. (WSP at 83; (VM Decl. ¶ 20)) The few vendors who showed interest in working in

 6   California expressed, in aggregate, an ability to mobilize possibly a few hundred qualified

 7   personnel to California and generally expressed an interest in only emergency/short-term work,

 8   not a willingness to commit long-term to developing a workforce in California (or moving their

 9   existing workforce). (Id.) In sum, while there are many more tree trimmers and pruners

10   throughout the United States, as of the time PG&E submitted its 2019 Wildfire Safety Plan,

11   third-party and PG&E research had identified no solution for enticing significant numbers of

12   utility-qualified workers to California for a long-term engagement.

13                    Despite these limitations, PG&E in 2019 was able to increase its total contracted

14   pre-inspector workforce from 580 to 1,375, largely by onboarding and training new pre-

15   inspectors in cooperation with its contractors.7 (VM Decl. ¶ 23) PG&E also expanded its total

16   contracted tree trimmer workforce from 1,400 to 5,437, by working with contractors to identify

17   additional trimmers, largely by recruiting trimmers from outside of California.8 (Id. ¶ 29) At the

18   CPUC’s direction, PG&E is also working with local governments and agencies to explore
19   partnerships to access additional existing vegetation management resources. (Id. ¶ 35) PG&E

20

21       7
             See infra at Part I.B.2.b. for a discussion of PG&E’s pre-inspector training program.
22       8
            The September 2019 online newsletter of the International Brotherhood of Electric
23   Workers (“IBEW”) 1245, PG&E’s primary union, reported that in Northern California: “There
     is absolutely no shortage of work out there right now. All companies are hiring as many people
24   as possible and they need more. There are some yards with fully stocked, brand new trucks just
     sitting because there are not enough employees to run them. We are constantly receiving phone
25
     calls asking if we know anybody that needs a job.” Available at
26   https://ibew1245.com/2019/10/15/influx-of-new-line-clearance-tree-trimmer-contractors-could-
     lead-to-interesting-negotiations-la-afluencia-de-nuevos-contratistas-de-poda-de-arboles-para-el-
27   despeje-de-lineas-puede-resultar-en-negoci/.

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 1   believes that the key to addressing California’s vegetation management resource constraints and

 2   expanding the pool of qualified, in-state workers is through wage incentives and expanded

 3   training and certification opportunities. That does not require those workers to become

 4   employees of PG&E.

 5                  2.     Requiring PG&E to Develop an Internal Workforce Would Simply Slow
                           Down the Current Pace of Tree Work
 6
                    Requiring PG&E to develop its own internal workforce of pre-inspectors and tree
 7
     trimmers would not help PG&E accelerate its EVM work; it would slow it down. That is so for
 8
     at least two reasons. First, the trimming and removal of trees near energized power lines is a
 9
     highly specialized and dangerous line of work in which PG&E’s contractors have accrued
10
     decades of experience and invested heavily to develop the requisite infrastructure and training
11
     and management capabilities. It would take years and hundreds of millions of ratepayer dollars
12
     (if not more) for PG&E to develop the infrastructure, workforce and training programs that
13
     PG&E’s contractors already have in place and have refined over time.9 The proposed condition
14

15

16       9
            In an effort to respond to the Court’s questions regarding an era in which PG&E may have
     used in-house crews to perform vegetation removal and tree trimming work, PG&E reviewed
17   relevant historical records and interviewed retired employees who worked on its electric
18   distribution system in the 1960s, 1970s and 1980s. These inquiries confirmed that, while PG&E
     crews might possibly have done some tree trimming work in the post-war period, PG&E has
19   used contractors to perform this work since at least 1976 and most likely since the 1960s. To the
     extent PG&E may have used in-house crews for vegetation management work before 1960, the
20   company does not have information about how many people were on such crews, if they existed,
     or the type of equipment they may have used.
21
          At least two filings in California Public Utility Commission (CPUC) proceedings reference
22   PG&E’s longstanding use of contractors: In 1976, the CPUC issued a General Rate Case
23   decision which noted that PG&E’s “[t]ree trimming is usually let out on a contract.” (CPUC
     Decision 86821 at p. 45, August 24, 1976, attached as Ex. B to Dyer Decl.); and in testimony
24   filed in a 1998 CPUC investigation, a witness provided a history of PG&E’s vegetation
     management program, noting that PG&E transitioned to grid-based trimming in the early 1980s -
25   - and that all such work was completed by contractors. (Testimony of Robert R. Novembri,
     PG&E’s Response to OII 98-09-007, Chapter 3 at p. 3-32 to 3-33, February, 1999, attached as
26
     Ex. C to Dyer Decl.) In addition, three retired employees reported that PG&E relied exclusively
27   on contractors for tree trimming and removal work during the 1960s and a fourth recalled that

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 1   is therefore not a solution that would alleviate resource constraints in the near term. Moreover,

 2   even if such a massive and costly undertaking were successful, most new hires would necessarily

 3   come from the existing pool of contract workers who already perform work on PG&E lines. The

 4   end result in the near term would thus be a change in the composition of, but not a material

 5   increase in, the overall resource pool. Second, PG&E’s efforts to address the shortage of tree

 6   workers are best focused on its ongoing support and funding of programs to train new tree

 7   trimmers and pre-inspectors in cooperation with its contractors, outside stakeholders like

 8   community colleges, labor unions and local governments and agencies, as well as its pre-existing

 9   pilot program to hire a limited internal pre-inspector workforce to evaluate whether those

10   supplemental personnel can improve quality and efficiency.

11                         a.      Tree Work Is a Dangerous, Highly Specialized and Resource-
                                   Intensive Field that PG&E’s Contractors Are Better Positioned
12                                 than PG&E to Handle
13                  The upfront investments required to train, equip and deploy a workforce of tree
14   trimmers large enough to cover PG&E’s service area are significant and lengthy. (VM Decl. ¶
15   32) Tree work—which generally involves tree pruning, tree removal and brush removal—is a
16   highly dangerous line of work that requires extensive training and on-the-job experience to
17   perform properly and safely, even without the threats posed by energized powerlines. (Id. ¶ 14)
18   To minimize these risks, federal and California law prescribe comprehensive safety, training and
19   knowledge requirements for tree workers generally, as well as specific requirements for tree
20   workers performing work around energized lines, including requirements to possess and know
21   how to use specialized equipment, to adhere to specific safety procedures and to maintain
22   minimum approach distances from energized lines. See 8 CCR §§ 2940.2, 2950-2951,
23   3420-3428; 29 C.F.R. §§ 1910.269(a)(2)-(r). Particular kinds of removal and trimming
24

25

26
     her husband worked for a third-party contractor performing tree trimming for PG&E in the
27   1950s.

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 1   operations that involve climbing trees or the use of cranes may require additional levels of

 2   training and experience. See, e.g., 8 CCR 3427(a)(1)(B).

 3                  For decades, PG&E’s contractors have expended significant resources to identify,

 4   train, manage, equip and deploy appropriately qualified personnel who can perform tree work

 5   safely and meet the line clearance needs of PG&E and other electric utilities. (VM Decl. ¶ 30)

 6   Unlike PG&E—which devotes significant resources every year to the ongoing operation and

 7   maintenance of electric and gas infrastructure for 16 million Californians—these companies

 8   focus almost exclusively on vegetation management. (Id.) To comply with the proposed

 9   condition, PG&E would have to establish from the ground up what would essentially be a full-

10   service vegetation management business within an electric and gas utility, complete with the

11   infrastructure and specialized equipment required to run that operation—all while simultaneously

12   attending to the many other duties associated with providing safe, reliable and affordable power

13   to millions of customers. (Id. ¶ 32) Far from providing additional value or improving safety,

14   that new business-within-a-business would largely duplicate an infrastructure and workforce that

15   PG&E’s vegetation management contractors have spent decades and hundreds of millions of

16   dollars to develop. (Id. ¶¶ 30, 33) It is unrealistic to think that PG&E, as a newcomer to the

17   industry, would be able from day one to perform tree work as safely and efficiently as companies

18   that have been performing such work as their core business activity for decades. (Id. ¶ 30)
19                  PG&E is not unusual in its choice to rely on contractors for this work. As

20   observed in a report commissioned by the Federal Energy Reliability Commission, “[t]he vast

21   majority of work in this multi-billion-dollar-a-year industry is not performed by utility personnel,

22   but rather outsourced to specialized tree and vegetation management contractors”. (CN Utility

23   Consulting, LLC, Utility Vegetation Management Final Report Commissioned to Support the

24   Federal Investigation of the August 14, 2003 Northeast Blackout (March 2004) at 1, available at

25   https://www.ferc.gov/industries/electric/indus-act/reliability/blackout/uvm-final- report.pdf; see

26   also National Rural Electric Cooperative Association Research Network, Vegetation

27   Management, Project 98-08, Section 7 (The Line Clearance Work Force) (2000) at 45, available

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 1   at https://www.tnelectric.org/wp-content/uploads/2016/08/ECI-Veg-Mgt-CRN.pdf (“Most of the

 2   electric utility vegetation management work completed in North America is done on a contract

 3   basis”).) The proposed condition would ignore industry best practices and require PG&E to do

 4   something that virtually no other major electric utility does, on a compressed timeframe, and on

 5   a scale that is unrivaled in the industry. (Id. ¶¶ 30-32)

 6                  In addition, the costs of establishing a full-scale tree trimming service within

 7   PG&E would be prohibitive and far outweigh whatever efficiencies might be realized over time.

 8   Among other things, PG&E would have to fund training, salaries, benefits, travel expenses and

 9   statutorily-required overtime for a workforce of at least 5,000 tree trimmers, plus mechanics to

10   maintain equipment and management, security, administrative and support staff; procure a large

11   fleet of trucks and specialized equipment and tools; secure office space for administrative staff

12   and information technology resources to support their operations; and establish, staff and

13   maintain multiple wood management yards for the storage and disposal of vegetative material.

14   (Id. ¶ 32) All of the equipment required for day-to-day operations would immediately begin to

15   depreciate and require ongoing maintenance and replacement, and the anticipated rate of

16   turnover would add to yearly costs. (Id.) PG&E conservatively estimates that these costs would

17   run into the hundreds of millions of dollars and could exceed $1 billion. (Id.) It is likely that

18   PG&E’s customers would bear a significant portion of this expense. (Id.)
19                  Using a contractor-based workforce also provides significant advantages with

20   regard to flexibility and other efficiencies. The use of a contractor workforce that collectively

21   covers all parts of Northern California allows PG&E to quickly and efficiently deploy tree

22   trimmers across its vast service territory, and gives PG&E the flexibility to terminate

23   relationships with contractors whose work does not meet PG&E’s high standards. (Id. ¶ 31) The

24   competition among contractors that vie for PG&E’s business also spurs innovation and

25   improvements in efficiency and work quality, to the ultimate benefit of ratepayers. (Id.)

26   Industry research has identified these and numerous other benefits to using contractors instead of

27   in-house crews, including greater flexibility in the selection and deployment of crews, stricter

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 1   control over quality and performance standards, and ready access to specialized services,

 2   technical expertise and equipment. (See National Rural Electric Cooperative Association

 3   Research Network, Vegetation Management ,Project 98-08: Section 7 (The Line Clearance

 4   Work Force) (2000) at 45, available at https://www.tnelectric.org/wp-

 5   content/uploads/2016/08/ECI-Veg-Mgt-CRN.pdf.)

 6                          b.      PG&E’s Efforts Are Best Focused on Working to Expand the
                                    Underlying Resource Pool and Improving the Quality of Current
 7                                  Workers
 8                  PG&E already is engaged in a variety of programs designed to increase the
 9   underlying labor pool and improve the quality and efficiency of its vegetation management work.
10   These programs have been developed in a careful, considered manner in cooperation with other
11   stakeholders and experts in the industry, as well as with CPUC guidance. The proposed Hiring
12   Condition would interfere with these beneficial efforts.
13                  Partnerships with Local Governments and Agencies
14
                    In response to the vegetation management resource constraints PG&E identified
15
     in its Wildfire Safety Plan, the CPUC directed PG&E to investigate partnerships with state and
16
     local governments to identify additional skilled labor available in the near-term and explore other
17
     possibilities such as local training programs to increase the skilled labor pool in the longer-term.
18
     (See Decision on Pacific Gas and Electric Company’s 2019 Wildfire Mitigation Plan Pursuant to
19
     Senate Bill 901, Rulemaking 18-10-007, dated June 4, 2019, at 26, 64.) To date, PG&E has
20
     conducted outreach to local agencies in 23 priority jurisdictions. (VM Decl. ¶ 35) While none
21
     has identified vegetation management resources that would provide a meaningful increase to
22
     PG&E’s current contracted workforce, several have expressed interest in continued
23
     conversations about potential joint efforts. (Id.) In addition to continuing conversations with
24
     those local agencies, PG&E is expanding its outreach to additional local agencies in 2020. (Id.)
25
                    Tree Trimmer and Pre-Inspector Training and Certificate Programs
26
                    The CPUC’s Safety and Enforcement Division (“SED”) in 2019 also evaluated
27

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 1   the quality and availability of vegetation management workers as part of its Order Initiating

 2   Investigation concerning the North Bay Fires and Camp Fire (“Wildfires OII”). (Id. ¶ 36) As

 3   memorialized in its resolution of the Wildfires OII with the SED and other stakeholders, PG&E

 4   is collaborating with community colleges, vegetation management contractors, the line clearance

 5   trimmer labor union, and other California utilities to establish a Tree Trimmer Training and

 6   Certificate Program and a Pre-Inspector Training and Certificate Program to train tree crew

 7   workers and pre-inspectors in local communities where the need for such workers is greatest.10

 8   PG&E expects the tree crew program to support a total capacity of up to approximately 2,800

 9   individuals across PG&E’s service territory between program launch and mid-2021 in an effort

10   to address the current shortage of qualified in-state tree workers. (Id. ¶¶ 36-39)

11                  PG&E Pre-Inspector Training Programs

12                  In 2019, PG&E launched a day-long instructor-led training in safety, patrol

13   procedures and PG&E standards and rating systems, for all contract pre-inspectors to supplement

14   training provided by vegetation management companies, and a three-day training program for all

15   new pre-inspectors performing EVM work. PG&E onboarded and trained approximately 1,700

16   new vegetation management pre-inspectors hired by its vegetation management contractors

17   under these programs. (Id. ¶¶ 24-26) PG&E is also in the process of developing an eight-

18   course, comprehensive pre-inspector training program that include web-based training, scenario-
19   based skills assessments, on-the-job training, and mentoring relationships with experienced pre-

20   inspectors. (Id. ¶ 27) These training programs not only help PG&E address near-term EVM

21   resource constraints, but also expand the pool of skilled and experienced pre-inspectors available

22   to PG&E and other California utilities in the future.

23                  Pre-inspector Pilot Program

24
         10
            See Joint Motion of Pacific Gas and Electric Company (U 39 E), the Safety and
25
     Enforcement Division of the California Public Utilities Commission, Coalition of California
26   Utility Employees, and the Office of the Safety Advocate for Approval of Settlement Agreement,
     dated December 17, 2019, at 16-17. The Administrative Law Judge presiding over the Wildfire
27   OII is currently reviewing the parties’ settlement agreement for approval.

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 1                  Finally, PG&E has recently reached an agreement with its primary union, IBEW,

 2   to conduct a pilot program to evaluate the use of an internal, PG&E pre-inspector workforce.

 3   (Id. ¶ 28) The purpose of the pilot program is to evaluate whether bringing a portion of the

 4   current, contracted pre-inspector workforce in-house will provide for improved long-term

 5   retention of pre-inspectors and build efficiencies. (Id.) The program is not contemplated to

 6   replace PG&E’s large contracted pre-inspector workforce, but, if successful, would allow PG&E

 7   to build a skilled, internal pre-inspector workforce to conduct EVM work verification, support

 8   regional pre-inspection for all of PG&E’s vegetation management programs, mobilize for

 9   emergency and storm response, and be reassigned, as needed, to cover other vegetation

10   management resource needs across PG&E’s service area. (Id.) The Court should allow PG&E

11   to evaluate the real-world impacts of an internal pre-inspector workforce through this pilot

12   program rather than forcing it to create a full blown, internal pre-inspector workforce now (and

13   abandon the many benefits of a contracted workforce discussed above) without due consideration

14   of its effect on the quality and economics of PG&E’s vegetation management work.

15          C.      The Hiring Condition Would Impermissibly Interfere with the CPUC’s
                    Ongoing Regulatory Process
16
                    The proposed Hiring Condition is also unreasonable because it intrudes into a
17
     sphere more appropriately left to a publicly accountable and expert state agency. When adopting
18
     probation conditions, “the federal government has no constitutional authority to interfere with a
19
     state’s exercise of its police power except to the extent the state’s action intrudes on any of the
20
     spheres in which the federal government itself enjoys the power to regulate.” Snyder, 852 F.2d
21
     at 475. The Hiring Condition substitutes the Court’s view of what is needed for safe operation
22
     with the expert state agency’s view—an agency that has been singularly focused on this issue for
23
     years and that has exercised the state’s police power in an area of core state concern.
24
                    As explained above, the CPUC considered resource constraints in its review of
25
     PG&E’s 2019 Wildfire Safety Plan and its investigation of the 2017 Northern California
26
     Wildfires and 2018 Camp Fire. As a result of those proceedings and PG&E’s own, independent
27

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 1   efforts, PG&E is in the process of implementing multiple measures designed to expand the

 2   underlying vegetation management pool and better utilize existing vegetation management

 3   resources. These measures are reviewed, approved, supervised, and enforced by the CPUC.

 4   This Court should not impose a condition that interferes with that expert exercise of the state’s

 5   police power.

 6                   As courts have repeatedly held, “[a] condition of probation may not circumvent

 7   another statutory scheme.” Abushaar, 761 F.2d at 960; see also United States v. Jalilian, 896

 8   F.2d 447, 449 (10th Cir. 1990) (vacating condition of probation requiring non-citizen to depart

 9   the country because order interfered with “the comprehensive scheme for admission and

10   deportation of aliens in 8 U.S.C. sections 1101-1362” and Congress’s delegation of “primary

11   jurisdiction to the Attorney General”); United States v. Mercedes-Mercedes, 851 F.2d 529, 531

12   (1st Cir. 1988) (invalidating probation condition requiring non-citizen to obtain consent of

13   Probation Officer to reenter the country, because such condition “leaves open the theoretical

14   possibility that the probation officer would overrule the immigration authorities” and thereby

15   created a “potential conflict with the immigration laws”); cf. United States v.Castillo-Burgos,

16   501 F.2d 217, 220 (9th Cir. 1974) (vacating sentence that mandated deportation at conclusion of

17   the prison term since “[n]owhere in this detailed statutory scheme is there a provision for a court

18   to deport aliens sua sponte”), abrogated on other grounds by United States v. Rubio-Villareal,
19   967 F.2d 294 (9th Cir. 1992).

20                   These problems compound when the statutory scheme reflects an exercise of the

21   state’s core police powers, as is the case here. See Queenside Hills Realty Co. v. Saxl, 328

22   U.S. 80, 82-83 (1946) (“Protection of the safety of persons is one of the traditional uses of the

23   police power of the States. . . . It is for the legislature to decide what regulations are needed to

24   reduce fire hazards to the minimum.”); Comms. Telesystems Int’l v. California Pub. Util.

25   Comm’n, 196 F.3d 1011, 1017 (9th Cir. 1999) (“[T]he regulation of utilities is one of the most

26   important of the functions traditionally associated with the police power of the States.” (quoting

27   Arkansas Elec. Coop. Corp. v. Arkansas Pub. Serv. Comm., 461 U.S. 375, 377 (1983)); Sable

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 1   Comms. of California Inc. v. Pac. Tel. & Tel. Co., 890 F.2d 184, 189 n.9 (9th Cir. 1989) (“The

 2   CPUC was created by the California Constitution Art. XII, § 22, and California’s police power

 3   over public utilities has been vested in it.”). Appellate courts have thus counseled district courts

 4   not to impose probation conditions that intrude on a state’s administration of its comprehensive

 5   regulatory schemes. E.g., Snyder, 852 F.2d at 475 (holding that “federal courts are

 6   constitutionally barred from unilaterally ordering suspensions of state drivers’ licenses”); United

 7   States v. Sterber, 846 F.2d 842, 844 (2d Cir. 1988) (holding that a probation condition revoking a

 8   pharmacy license “implicates important notions of federalism,” and “question[ing] whether a

 9   federal district judge, ‘unguided by Congress except in the most general terms,’ can require a

10   defendant to give up a state-granted professional license, particularly where the state provides a

11   comprehensive regulatory system to handle the professional misconduct of those it licenses”

12   (citation omitted)), superseded by statute on other grounds, 18 U.S.C. § 853(a), as recognized in

13   United States v. Singh, 390 F.3d 168 (2d Cir. 2004); United States v. Pastore, 537 F.2d 675, 683

14   (2d Cir. 1976) (rejecting probation condition requiring defendant to resign from state bar because

15   “expulsion from the state bar is a sanction precisely governed by statute and regulation,” and “it

16   would seem preferable not to impose that sanction except by the procedure and for the reasons

17   there prescribed”), superseded by statute on other grounds as recognized by United States v.

18   Singh, 390 F.3d 168 (2d Cir. 2004); see also Thomas v. Kadish, 748 F.2d 276, 278 (5th Cir.
19   1984) (rejecting a plaintiff’s effort to challenge state bar proceedings in district court “in the light

20   of the weight given by the Court to the values . . . that arise out of federal-state comity

21   considerations and the ‘strength of the state interest in regulating the state bar’” (citation

22   omitted)).11 The proposed Hiring Condition—by interfering with and displacing the CPUC’s

23   own regulatory framework—would do exactly what these cases forbid.

24

25       11
           This deference to state expertise is hardly limited to the probation context. For example,
     the Burford absention doctrine counsels deference to state regulatory regimes even when doing
26
     so would require courts to forego their own jurisdiction. As the Supreme Court held in the
27   namesake case, “it ‘is in the public interest that federal courts . . . should exercise their

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 1          D.      The Hiring Condition Is Not Reasonably Related To The Underlying
                    Conviction.
 2
                    A discretionary condition of probation “must involve only such deprivations of
 3
     liberty or property as are reasonably necessary to accomplish the purposes of sentencing. If a
 4
     condition of probation does not meet these requirements, it is invalid.” Lorenzini, 71 F.3d at
 5
     1492 (emphasis added) (citation omitted). As noted in previous filings, PG&E was convicted of
 6
     obstructing an NTSB investigation and of five violations of the federal Pipeline Safety Act
 7
     concerning data gathering and integration and integrity management concerning natural gas
 8
     transmission pipelines. See United States v. Pac. Gas & Elec. Co., No. 14-cr-175 (N.D. Cal. Jan.
 9
     31, 2017); see Response to Order to Show Cause Why PG&E’s Conditions of Probation Should
10
     Not Be Modified at 49, United States v. Pac. Gas & Elec. Co., No. 14-cr-175 (N.D. Cal. Jan. 23,
11
     2019), ECF No. 976. Those convictions concerned PG&E’s natural gas transmission business.
12
     None of them involved any aspect of PG&E’s electric grid operations. In passing the probation
13
     statute, “Congress intended that there be some connection between the proscription to be ordered
14
     by the court and the nature of the crime or the degree of punishment.” Lorenzini, 71 F.3d at
15
     1493. Here, there is no reasonable relation between PG&E’s original offenses and probation
16
     conditions relating to its electric distribution business. PG&E recognizes that the Court has
17
     previously imposed conditions related to electricity distribution, despite PG&E’s arguments on
18
     this score, and reiterates it for preservation purposes.
19

20

21
     discretionary power with proper regard for the rightful independence of state governments in
22   carrying out their domestic policy.” Burford v. Sun Oil Co., 319 U.S. 315, 318 (1943). This
     deference is warranted despite the “virtually unflagging obligation” of federal courts to exercise
23   their jurisdiction. Mata v. Lynch, 135 S. Ct. 2150, 2156 (2015) (citation omitted). If deference
     to state agencies is warranted in that context, it is even more warranted in the context of
24
     probation conditions that are a matter of discretion.
25
          Likewise, under the doctrine of primary jurisdiction, courts refer questions to an expert
26   agency whenever the enforcement of a claim subject to a specific regulatory scheme requires
     resolution of issues that are ‘within the special competence of an administrative body.’” Davel
27   Commc’ns, Inc. v. Qwest Corp., 460 F.3d 1075, 1086 (9th Cir. 2006).

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 1   II.      THE COURT SHOULD NOT IMPOSE THE COMPENSATION CONDITION.

 2                  The Compensation Condition is equally impermissible and unwarranted. That

 3   requirement would require PG&E to “restrict all bonuses and other incentives for supervisors

 4   and above exclusively to achieving the PG&E Wildfire Mitigation Plan and other safety goals.”

 5   As with the hiring condition, the subject of compensation has been and continues to be the focus

 6   of state regulatory efforts, including high-profile legislation, and it is a subject that has been and

 7   will continue to be adjudicated in CPUC proceedings. In fact, the CPUC has approved–and

 8   indeed in some cases required–a hybrid approach to incentives that gives predominant weight to

 9   safety, but that also takes into account financial performance. This Court should not impose

10   conditions that conflict with the considered regulatory decisions of the California legislature and

11   undermine the authority of the Bankruptcy Court to approve an incentive compensation plan it

12   would otherwise deem appropriate.

13                  Moreover, PG&E’s incentive metrics are already weighted significantly further in

14   favor of safety compared to the metrics of its peer utilities. PG&E’s recently revised executive

15   compensation structure leads the industry in this regard. Nor is there any evidence suggesting

16   that safety outcomes would improve by making safety the sole criterion for the incentive

17   program, especially given that PG&E already weights safety considerations so heavily. To the

18   contrary, the hybrid approach previously approved by both California and the Bankruptcy Court

19   reflects the reality that a financially stable PG&E is better positioned to safely provide power.

20          A.      The Compensation Condition Would Improperly Conflict With Recent
                    California Law Regulating Utility Incentive Compensation.
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                    As explained above, probation conditions are unlawful to the extent they interfere
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     with valid state regulatory regimes. See supra Part I.C. As the Ninth Circuit has held, “where a
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     state has in place a comprehensive procedure for resolution of the condition probation imposes, it
24
     makes good sense to defer to that established procedure.’” United States v. Lakatos, 241 F.3d
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     690, 695 (9th Cir. 2001) (quoting United States v. A-Abras Inc., 185 F.3d 26, 35 (2d Cir. 1999)).
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 1   The Court’s proposed Compensation Condition runs contrary to California’s chosen method of

 2   regulating PG&E’s incentive plans.

 3                  Last year, California enacted AB 1054. This bill began as a narrow proposal in

 4   the California Assembly in February 2019 to appoint an internal auditor for the CPUC. See 2019

 5   Cal. A.B. 1054 (introduced Feb. 21, 2019). But, over the course of the spring and summer,

 6   legislators came together, compromised, and, after multiple amendments, transformed AB 1054

 7   into a comprehensive response to “[t]he increased risk of catastrophic wildfires” in the state.

 8   2019 Cal. Legis. Serv. ch. 79, § 1(a)(1) (law filed July 12, 2019). As part of this comprehensive

 9   reform, AB 1054 specifically addresses the issue of electrical utility compensation. Id. § 21

10   (codified as amended at Cal. Pub. Util. Code § 8389). It also delegates to the CPUC the power

11   to approve executive incentive plans, within the guided discretion provided by statutory

12   standards. Id. § 21(e)(4). Such approval is required for the CPUC to issue a safety certification,

13   without which an electric utility will have difficulty recovering costs from the State when

14   wildfires occur. Id. §§ 6(c), 21(e)(4). The proposed incentives condition conflicts with that

15   legislation in two ways.

16                  First, AB 1054 requires a utility’s executive compensation structure to promote

17   both safety and financial stability. The law provides that to obtain a safety certification, a utility

18   must show, among other things, that it has “established an executive compensation structure
19   approved by the [Wildfire] [D]ivision [that is] structured to promote safety as a priority and to

20   ensure public safety and utility financial stability . . . .” Cal. Pub. Util. Code § 8389(e)(4)

21   (emphasis added). It also requires that electric utilities “establish[] a compensation structure for

22   any new or amended contracts for executive officers.” Id. § 8389(e)(6)(A). The “primary

23   portion” of that structure must be “based on achievement of objective performance metrics,” but

24   the law also requires that the structure “provide[] a significant portion of compensation . . . based

25   on the electrical corporation’s long-term performance and value,” while minimizing indirect

26   compensation “that is not aligned with shareholder and taxpayer interest in the electrical

27   corporation.” Id. § 8389(e)(6)(A)(i)(I), (iii)-(iv) (emphases added). As part of the CPUC’s

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 1   oversight authority, the law does give the CPUC discretion to approve a 100% safety-related

 2   overlay that denies all incentive compensation in the event of a significant safety issue such as a

 3   catastrophic wildfire. Id. § 8389(e)(4) (stating that incentive structure “may include tying 100

 4   percent of incentive compensation to safety performance and denying all compensation in the

 5   event the electrical corporation causes a catastrophic wildfire that results in one or more

 6   fatalities”). But the balance of the statute makes clear that financial performance cannot be

 7   ignored entirely.

 8                   AB 1054’s hybrid criteria thus reflect the judgment, supported by the legislative

 9   record, that PG&E is best-positioned to provide safe and reliable power if it is financially stable

10   itself. See, e.g., 2019 Cal. Legis. Serv. ch. 79, § 2(c) (“The state has a substantial interest that its

11   electrical corporations are operating in a safe and reliable manner and have access to capital at

12   reasonable cost to make safety investments.”); Wildfires and Climate Change: California’s

13   Energy Future: A Report from Governor Newsom’s Strike Force at 3 (Apr. 12, 2019) [hereinafter

14   “Strike Force Report”] (“Utilities rely on credit to finance ongoing infrastructure investments,

15   including fire mitigation. As utilities’ credit ratings deteriorate, their borrowing costs increase

16   and those costs for capital necessary to make essential safety improvements are passed directly to

17   customers. These downgrades, and the prospect of additional utility bankruptcy filings, directly

18   impact Californians’ access to safe, reliable and affordable electricity.”); id. at 28 (“California
19   residents and businesses require a safe and reliable electrical system, the achievement of which

20   requires ongoing investment in new equipment, systems, and workforce.”).

21                   The Court’s proposed condition, by contrast, would require tying 100% of

22   incentive compensation to safety metrics and would bar any reliance on the financial

23   performance metrics that California law expressly contemplates. The Compensation Condition

24   would effectively enact an earlier, rejected version of AB 1054, which required “an executive

25   incentive compensation plan linked to safety performance metrics” with no mention of financial

26   stability, 2019 Cal. A.B. 1054, § 25(e)(5) (as amended June 27, 2019), rather than the final law’s

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 1   dual focus on safety and financial health. The proposed Compensation Condition thus conflicts

 2   with California law and upsets the bargain struck by California’s legislature.

 3                  Second, the Compensation Condition would go substantially further than AB

 4   1054 by mandating an incentive structure for all supervisors below the executive level. Between

 5   the Senate-amended version of the bill on June 27 and the final bill signed into law in mid-July,

 6   the Legislature changed the focus of, and elaborated in great detail on, the incentive requirements

 7   for executives that would be required to obtain a safety certification. Compare 2019 Cal. A.B.

 8   1054, § 25(e)(5) (as amended June 27, 2019), with 2019 Cal. Legis. Serv. ch. 79, § 21(e)(4),

 9   (e)(6). Throughout those amendments, however, California left decisions about non-executives

10   to the discretion of the utilities— and, in PG&E’s case, that of the bankruptcy court with respect

11   to pre-emergence incentive plans. The Compensation Condition, which would fix the incentive

12   criteria for thousands of PG&E supervisors, conflicts with that legislative judgment.

13                  Nor, for that matter, has California finished regulating in this area. PG&E has

14   been participating in ongoing negotiations with the CPUC and the Governor’s Office regarding

15   incentive plans, and the CPUC will begin hearing testimony regarding PG&E’s 2020 executive

16   compensation plan on February 19. PG&E has already submitted written testimony explaining

17   its proposed incentive plans and the decision-making that underlay the proposals. See CPUC

18   Testimony at 7-3 to 7-19 (explaining that “PG&E’s performance-based compensation structure
19   aligns with customer welfare overall—including safety as its most critical element—but the

20   structure does so without sacrificing reliability and affordability”). The Bankruptcy Code and

21   AB 1054 provide room for the CPUC (as well as the Bankruptcy Court, discussed immediately

22   below) to engage in any necessary iterative process to ensure that PG&E’s incentive plans follow

23   the best interests of the interested bankruptcy parties and satisfy the strictures of California law,

24   and applicable bankruptcy law. The proposed Compensation Condition would replace this

25   system of guided discretion to consider costs and benefits with a rigid “safety-only” rule. This

26   Court should not preempt the expert and accountable state decisions-makers to which California

27   has chosen to delegate the responsibility of approving PG&E’s incentive compensation plans.

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 1          B.      The Proposed Compensation Condition Would Undermine The Bankruptcy
                    Court’s Authority To Approve PG&E’s Incentive Plans During The Chapter
 2                  11 Case.
 3                  In addition to conflicting with California’s legislative determinations, the
 4   proposed Compensation Condition would undermine the Bankruptcy Court’s discretion to
 5   approve pre-emergence incentive plans. See Abushaar, 761 F.2d at 960 (probation conditions
 6   should not conflict with other federal prerogatives). As the January 24 Order to Show Cause
 7   recounts, Judge Montali has previously addressed the issue of incentive compensation in
 8   PG&E’s chapter 11 case. He has issued orders approving (or disapproving) employee incentive
 9   plans and has assessed whether those plans represent a reasonable exercise of PG&E’s business
10   judgment.
11                  As background, the Bankruptcy Court has addressed PG&E’s 2019 employee
12   incentive plans over the course of last year. As the Bankruptcy Court noted, PG&E “face[s]
13   suffocating pressures from [its] creditor committees, regulatory agencies, various other creditor
14   groups, the general public, and governmental agencies to” meet two separate but intertwined
15   goals: to “improve substantially [its] safety practices and [to] successfully reorganize.” Order
16   Denying Motion to Approve KEIP at 6, In re PG&E Corp., No. 19-30088 (Bankr. N.D. Cal.
17   Aug. 30, 2019), ECF No. 3773 [hereinafter “Order on KEIP”]. Those political and financial
18   pressures are compounded by time pressure—the California Legislature is pushing PG&E “to
19   exit bankruptcy by June 30, 2020.” Id.
20                  Against this backdrop, the Bankruptcy Court approved, “in the best interests of . .
21   . all parties in interest,” an incentive plan for a significant portion of the company’s employees
22   that took into account safety, financial and customer performance criteria. See STIP Order at 1-
23   2. In so doing, Judge Montali ultimately approved metrics that were more focused on safety and
24   less focused on financial performance compared to those in an earlier proposed plan, but that
25   were also not 100% focused on safety, as some participants in the proceeding had urged. See id.
26   at 1. Specifically, the STIP Order approved an incentive plan for non-executives that
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 1   “increase[ed] the weighting for the safety metrics … from 50% to 65% (with a corresponding

 2   15% reduction in the Financial Performance weighting, from 40% to 25%)”). Id. at 2.

 3                  Conversely, Judge Montali later rejected an incentive proposal for a limited group

 4   of PG&E’s most senior executives that would have provided from $5.5-16.4 million in

 5   compensation, also based on metrics weighted at 65% safety, 10% customer satisfaction, and

 6   25% financial performance. See Mot. of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b), and

 7   503(c) for Entry of an Order (I) Approving Debtors’ Incentive Program for Certain Key

 8   Employees and (II) Granting Related Relief at 12-13, In re PG&E Corp., No. 19-30088 (Bankr.

 9   N.D. Cal. June 19, 2019), ECF No. 2664; Order on KEIP at 6 (denying proposed incentive plan

10   for certain of PG&E’s most senior executives because they should be focused on “improving

11   Debtors’ safety record” without needing additional financial incentives). Judge Montali

12   suggested that an incentive plan based entirely on safety metrics might be appropriate with

13   respect to this limited group, Order on KEIP at 6-7, thereby demonstrating the Bankruptcy Court

14   is well-positioned to consider such a plan where circumstances so warrant.

15                  By requiring the exclusion of all non-safety metrics, the Court’s Compensation

16   Condition usurps the discretion of the Bankruptcy Court. Judge Montali has applied a nuanced

17   approach in his consideration of PG&E’s 2019 plans. Rather than constrain Judge Montali in the

18   event he is called upon to assess PG&E’s compensation plans for 2020, this Court should allow
19   the Bankruptcy Court to pass judgment on PG&E’s plans with the benefit of submissions from

20   all interested estate stakeholders. In re Gruntz, 202 F.3d 1074, 1080 (9th Cir. 2000) (en banc)

21   (“Congress intended to grant comprehensive jurisdiction to the bankruptcy courts so that they

22   might deal efficiently and expeditiously with all matters connected with the bankruptcy estate.”

23   (quoting Celotex Corp. v. Edwards, 514 U.S. 300, 308 (1995)).

24                  Accordingly, this Court should not impose a condition that conflicts with or

25   constrains the Bankruptcy Court’s review of PG&E’s employee compensation arrangements.

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 1            C.       The Compensation Condition Is Unreasonable Because It Is Not In The
                       Public Interest.
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                       Even apart from the findings of state and federal actors, the Compensation
 3
     Condition is not reasonably necessary. Lorenzini, 71 F.3d at 1492. PG&E already weighs safety
 4
     more heavily in its incentive program than its peer utilities do, and for good reason. See CPUC
 5
     Testimony, at 7-9 (“The STIP’s emphasis on customer and workforce welfare (especially public
 6
     safety) tied to outcome-based metrics represents industry leadership: Based on our analysis of 19
 7
     other utilities, only 20 percent use customer/public safety metrics, and only one uses such a
 8
     metric that is outcome-based.”); Reply Mem. of Points and Authorities in Further Support of
 9
     Corrected Mot. of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363, and 503(c) for Entry of an
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     Order (I) Approving Short-Term Incentive Plan and (II) Granting Related Relief at 19, In re
11
     PG&E Corp., No. 19-30088 (Bankr. N.D. Cal. Apr. 3, 2019), ECF No. 1226 (noting that
12
     PG&E’s proposed safety weighting “is considerably higher than typical of the utility industry”
13
     (quoting Assessment of Pacific Gas and Electric Corporation and Pacific Gas and Electric
14
     Company’s Safety Culture (“NorthStar Report”) at I-6, VII-12)); Transcript of April 9, 2019
15
     Proceedings Before the Hon. Dennis Montali at 88, In re PG&E Corp., No. 19-30088 (Bankr.
16
     N.D. Cal. Apr. 10, 2019), ECF No. 1325 (statement of Mr. Bray, Unsecured Creditors
17
     Committee) (“If you look at the peer groups for this industry and this company, they have similar
18
     structures. [PG&E’s] safety metric is much higher than theirs are, if the Court approves the
19
     stipulation . . . .”).
20
                       There is no evidence suggesting that making safety performance the exclusive
21
     criterion rather than the most important criterion (as PG&E does) improves safety outcomes.
22
     Moreover, PG&E is unaware of any utility that gives no weight to financial performance in its
23
     incentive calculations. See Corrected Decl. of Douglas J. Friske in Support of Mot. of Debtors
24
     Pursuant to 11 U.S.C. §§ 105(a), 363, and 503(c) for Entry of an Order (I) Approving Short-
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     Term Incentive Plan and (II) Granting Related Relief at 8, In re PG&E Corp., No. 19-30088
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 1   (Bankr. N.D. Cal. Mar. 8, 2019), ECF No. 807 (“Financial performance measures were used at

 2   100% of the Debtors’ peer companies.”).

 3                   Indeed, as explained above, PG&E’s ability to safely provide power is in large

 4   part predicated on its financial stability, particularly in the context of the company’s bankruptcy.

 5   As PG&E has explained in its CPUC testimony on this subject, including a financial metric

 6   “promotes safety, . . . in that strong public safety performance is essential to financial stability

 7   (as evidenced by the current Chapter 11 proceedings and the substantial decline in the price of

 8   PG&E Corporation common stock since the 2017 and 2018 wildfires).” CPUC Testimony at 7-

 9   14. In this way, “tying 100 percent of incentive compensation to safety metrics would not

10   adequately align with PG&E’s overall mission of providing safe, reliable, affordable, and clean

11   energy to its customers.” Id. at 7-21. In fact, an exclusive focus on safety may even harm

12   PG&E’s mission to provide safe and reliable electricity to Californians. See id. at 7-9 (“[W]ith

13   an overly narrow or exclusive focus on safety, PSPS could be routinely implemented—and

14   although that might ensure wildfire safety, it could cause hardships to PG&E’s customers,

15   especially its most vulnerable customers.”).12

16                   This Court should not impose conditions that lack an evidentiary foundation in the

17   record, and that are potentially counter-productive. Probation conditions “must involve only

18   such deprivations of liberty or property as are reasonably necessary to accomplish the purposes
19   of sentencing.” Lorenzini, 71 F.3d at 1492. Conditions that “unnecessarily restrict otherwise

20   lawful activities . . . are impermissible.” Terrigno, 838 F.2d at 374. No record before the Court

21   justifies limiting all supervisors to “safety-only” incentive plans. Indeed, quite the opposite.

22   Judge Montali’s words in approving the 2019 STIP and its hybrid criteria are just as relevant to

23   this Court’s proposed condition:

24            [W]e’re talking about people that work at the nuclear power plant, people
              working in the corporate offices, people dealing with customer complaints, people
25            that are fixing lines in Berkeley and in San Francisco and in many other parts of
26       12
            The Compensation Condition is also not reasonably related to the underlying conviction
27   for the reasons explained supra. See Part I.D.

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 1          northern California that are not at all fire hazard areas, hopefully. And so to
            suddenly decide, because of a tragedy of such magnitude, therefore thousands of
 2          employees should not have the kind of compensation arrangement that has been a
            consistent pattern in this company seems to be the wrong way to deal with the
 3
            problem.
 4
     Transcript of Arp. 23, 2019 Proceedings Before the Hon. Dennis Montali at 75, In re PG&E
 5
     Corp., No. 19-30088 (Bankr. N.D. Cal. Apr. 24, 2019), ECF No. 1663.
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 1   Dated: February 12, 2020                      Respectfully Submitted,

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